             Case 20-07220                Doc       Filed 07/31/20         Entered 07/31/20 13:53:40                         Desc Main
                                                        Document           Page 1 of 3
Fill in this information to identify the case:

Debtor 1                   Mark W. Kite
Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:                   Northern          District of      Illinois
                                                                                          (State)

Case number              20-07220



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

      Name of creditor:        Nationstar Mortgage LLC d/b/a Mr. Cooper                             Court claim no. (if known):   5

      Last 4 digits of any number you use to
      Identify the debtor’s account:                 6909

      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
       No
       Yes. Date of the last notice: _____/_____/_____



Part 1:               Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

         Description                                                      Dates incurred                                     Amount
1.       Late Charges                                                                                                 (1)
2.       Non-sufficient funds (NSF) fees                                                                              (2)
3.       Attorney Fees                                                                                                (3)
4.       Filing fees and court costs                                                                                  (4)
                                                                          $350.00 04/09/20 (Proof of
5.       Bankruptcy/Proof of claim fees                                   Claim);                                     (5)    $350.00
6.       Appraisal/Broker’s price opinion fees                                                                        (6)
7.       Property inspection fees                                                                                     (7)
8.       Tax Advances (non-escrow)                                                                                    (8)
9.       Insurance advances (non-escrow)                                                                              (9)
         Property preservation expenses.
10.      Specify:________________                                                                                     (10)
         Other.
11.      Specify:_____________________________________                                                                (11)
                                                                          $250.00 04/09/20 (Preparation of
         Other.                                                           Loan Payment History (410A
12.      Specify:_____________________________________                    Form));                                     (12)   $250.00
         Other.
13.      Specify:_____________________________________                                                                (13)
         Other.
14.      Specify:_____________________________________                                                                (14)

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1




Official Form 410S2                            Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 1
            Case 20-07220                 Doc         Filed 07/31/20               Entered 07/31/20 13:53:40               Desc Main
                                                          Document                 Page 2 of 3

Debtor 1               Mark W. Kite                                                         Case number (if known)   20-07220
                      First Name      Middle Name         Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.




                  x     /s/ Peter C. Bastianen                                                     Date        7/31/2020
                        Signature



Print                   Peter C. Bastianen                                                         Title      Attorney for Creditor
                        First Name          Middle Name               Last Name



Company                 Codilis & Associates, P.C.


Address                 15W030 North Frontage Road, Suite 100
                        Number         Street

                        Burr Ridge                        IL               60527
                        City                               State           ZIP Code



Contact phone           (630) 794-5300                                                             Email      ND-Four@il.cslegal.com
                                                                                                                                       File #14-20-02835




Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
         Case 20-07220             Doc     Filed 07/31/20   Entered 07/31/20 13:53:40       Desc Main
                                               Document     Page 3 of 3
B 10 (Supplement 2) (12/11)




                                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice upon the parties
listed below, as to the Trustee and Debtor's attorney via electronic notice on July 31, 2020 and as to the
debtor by causing same to be mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe
Street, Willowbrook, IL 60527 before the hour of 5:00 PM on July 31, 2020.

Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by electronic notice
through ECF
Mark W. Kite , Debtor(s), 10254 S. 52nd Avenue, Oak Lawn, IL 60453
David M Siegel, Attorney for Debtor(s), 790 Chaddick Drive, Wheeling, IL 60090 by electronic notice
through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice through ECF




                                                            /s/ Peter C. Bastianen


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Karl V. Meyer ARDC#6220397
Grant W. Simmons ARDC#6330446
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300)
File #14-20-02835

NOTE: This law firm is a debt collector.
